DATE: _ November 3, 2004

BEFORE: GERSHON, U.S.D,]J. TIME: 11:30 a.m.
CRIMINAL CAUSE FOR VIOLATION OF SUPERVISED RELEASE

CR_ 98-572 (NG)

DEFT NAME: DAVID PILLAR

 

X present not present cust. X bail
DEFENSE COUNSEL: Benjamin Brafman
X present not present CJA X RET. LAS

 

A.U.S.A.: Daniel Alonso CLERK:Victor Joe C.R: Burt Sultzer
USPO: Luis Caso

x CASE CALLED. DEFT (S) APPEAR WITH COUNSEL.

COUNSEL PRESENT WITHOUT DEFT (S)

 

REVOCATION HRG ADJ'D TO

 

REVOCATION HRG HELD. HRG CONT'D TO

DEFT ADVISED OF RIGHTS AND ENTERS A PLEA OF :
GUILTY NOT GUILTY TO CHARGES OF VIOLATION.

COURT FINDS DEFT GUILTY NOT GUILTY.
JUDGMENT REVOKING TERMS & CONDITIONS OF PROB./S.R.

SENTENCING SET FOR : SENTENCING HELD.

 

_. DEFT REMANDED TO CUSTODY OF U.S. MARSHAL.
SENTENCE TEXT: Probation office withdraws violation. Defendant
shali increase restitution from $3000.00 a month to $4500.00 a

month, Parties agreed to a disposition without a hearing.

OTHER;

 
